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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      April 28, 2020

BY ECF

The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Ng Lap Seng,
               S5 15 Cr. 706 (VSB)

Dear Judge Broderick:

       The Government respectfully submits this letter in the above-captioned matter in
response to the Court’s order of earlier today (Dkt. 949) inquiring of the status of the defendant’s
request to the Federal Bureau of Prisons (“BOP”) for compassionate release.

        The defendant’s request, which was received by the BOP on March 30, 2020, was denied
by the BOP last week. A copy of the denial, which was sent to defense counsel, is enclosed.
The Court accordingly has authority to reach the substantive merits of the defendant’s motion
starting tomorrow (30 days from March 30). 1




1
        The reason why the operative date is tomorrow, and not sooner, is that the defendant has
the right to appeal within the BOP the denial, and is required to do so to exhaust his
administrative remedies. See 18 U.S.C. § 3582(c)(1)(A)(i); 28 C.F.R. § 542.15(a).
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Honorable Vernon S. Broderick
United States District Judge
April 28, 2020
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                                 Respectfully submitted,

                                 GEOFFREY S. BERMAN
                                 United States Attorney

                           By:   s/ Daniel C. Richenthal
                                 Daniel C. Richenthal
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                                 (212) 637-2109/2597/2418

                                 ROBERT ZINK
                                 Chief, Fraud Section
                                 Criminal Division

                           By:   s/ David A. Last
                                 David A. Last
                                 Assistant Chief
                                 (202) 616-5651

Enclosure

cc:   (by ECF)

      Counsel of Record
